                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In Re:                                      )       Case No.:      24-00059
                                            )
         Keith D. Freeman                   )       Chapter:       Chapter 13
                                            )
                       Debtors              )       Judge:         Hon. Donald R. Cassling


                                   NOTICE OF MOTION

TO:         See attached list

       PLEASE TAKE NOTICE that on April 9, 2024 at 9:30 a.m., I will appear before the
Honorable Donald R. Cassling, or any judge sitting in that judge’s place, either in Courtroom 619
of the Dirksen Federal Courthouse, 219 S. Dearborn St., Chicago, IL 60604 or electronically as
described below, and present Geraci Law L.L.C.’s Motion to Withdraw as Attorney, a copy of
which is attached.

      Important: Only parties and their counsel may appear for the presentment of the
   motion electronically using Zoom for Government. All others must appear in person.

        To appear by Zoom using the internet, go to this link: https://www.zoomgov.com/. Then
enter the meeting ID and passcode.

      To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252 or
   1-646-828-7666. Then enter the meeting ID and passcode.

       Meeting ID and passcode. The meeting ID for this hearing is 161 414 7941 and the
passcode is 619. The meeting ID and passcode can also be found on the judge’s page on the court’s
web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without calling it.


                                            By:        /s/ Nathan E. Curtis
                                                        Nathan E. Curtis
                                                        Geraci Law L.L.C.
                                                        55 E. Monroe Street #3400
                                                        Chicago, Illinois 60603
                                                        312.332.1800
                                                        ndil@geracilaw.com
                                CERTIFICATE OF SERVICE

I, Nathan E. Curtis, certify that I served a copy of this notice and the attached motion on each
entity shown on the attached list at the address shown and by the method indicated on the list on
April 1, 2024.


                                                    /s/ Nathan E. Curtis
                                                    Nathan E. Curtis



                                LIST OF PARTIES SERVED


Via ECF

Chapter 7 Trustee, Michael Desmond

Office of the U.S. Trustee

Via US Postal Service

Keith D. Freeman, 9560 140th Ct # 301, Orland Park, IL 60462

SEE ATTACHED SERVICE LIST OF ALL CREDITORS
Keith Douglas Freeman         Greater Chicago Finance             Small Business Administration
9560 140th Ct #301            Bankruptcy Department               Bankruptcy Department
Orland Park, IL 60462         8331 W. Roosevelt                   801 Tom Martin Dr., Ste. 201
                              Forest Park IL 60130                Birmingham AL 35211-6424
Affirm Inc
Attn: Bankruptcy Dept.        DuPage County Circuit Court         Td Bank Usa/Targetcred
650 CALIFORNIA ST FL 12       16SC003410                          Attn: Bankruptcy Dept.
SAN FRANCISCO CA 94108        505 County Farm Road P.O. Box 707   PO BOX 673
                              Wheaton IL 60187                    MINNEAPOLIS MN 55440
Amex
Attn: Bankruptcy Dept.        Markoff Law LLC                     Upgrade Inc
PO BOX 297871                 Bankruptcy Dept.                    Attn: Bankruptcy Dept.
FORT LAUDERDALE FL 33329      29 N Upper Wacker Dr # 1010         275 BATTERY ST FL 23
                              Chicago IL 60606                    SAN FRANCISCO CA 94111
Bridgecrest
Attn: Bankruptcy Dept.        Illinois Department of Revenue      Verizon Wireless
7300 E HAMPTON AVE            Bankruptcy Department               Attn: Bankruptcy Dept.
MESA AZ 85209                 PO Box 19035                        PO BOX 650051
                              Springfield IL 62794                DALLAS TX 75265
Caine & Weiner
Attn: Bankruptcy Dept.        Illinois State Toll Hwy Auth
PO BOX 55848                  Attn: Legal Dept - Bob Lane
SHERMAN OAKS CA 91413         2700 Ogden Ave.
                              Downers Grove IL 60515-1703
Capital One
Attn: Bankruptcy Dept.        IRS Non-Priority
PO BOX 31293                  Centralized Insolvency Operation
SALT LAKE CITY UT 84131       PO Box 7346
                              Philadelphia PA 19101
Capital One
Attn: Bankruptcy Dept.        IRS Priority Debt
PO BOX 31293                  Centralized Insolvency Operation
SALT LAKE CITY UT 84131       PO Box 7346
                              Philadelphia PA 19101
Clerk, Fifth Mun. Div.
23M5005652                    Jefferson Capital Syst
10220 S. 76th Ave., #121      Attn: Bankruptcy Dept.
Bridgeview IL 60455           16 MCLELAND RD
                              SAINT CLOUD MN 56303
Blitt and Gaines, PC
Bankruptcy Dept.              Lendingpoint Llc
775 Corporate Woods Parkway   Attn: Bankruptcy Dept.
Vernon Hills IL 60061         1201 ROBERTS BLVD NW STE
                              KENNESAW GA 30144
Carmax Auto Finance
Attn: Bankruptcy Dept.        Rodzilla Prroperties
12800 TUCKAHOE CREEK PKW      4700-40 W. 147th St, LLC
RICHMOND VA 23238             4722 147th St
                              Crestwood IL 60445
Credit Collection Serv
Attn: Bankruptcy Dept.        Clerk, Sixth Mun Div
725 CANTON ST                 22M65050
NORWOOD MA 02062              16501 S. Kedzie
                              Markham IL 60426
Discover Bank
Attn: Bankruptcy Dept.        Stephen Dine
PO BOX 30939                  Bankruptcy Department9742 S Utica
SALT LAKE CITY UT 84130       Evergreen Park IL 60805
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In Re:                                        )      Case No.:       24-00059
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         Keith D. Freeman                     )      Chapter:        Chapter 13
                                              )
                       Debtors                )      Judge:          Hon. Donald R. Cassling


                         MOTION TO WITHDRAW AS ATTORNEY

         Geraci Law L.L.C., attorney for the debtors, in support of its Motion to Withdraw as

Attorney pursuant to Local Bankruptcy Rule 2091-1, states to the Court as follows:

   1. The court has jurisdiction over this proceeding under 28 U.S.C. Section 1334(b).

   2. This is a core proceeding pursuant to 28 U.S.C. 157(b)(2)(A).

   3. The debtor filed a petition for relief under Chapter 13 of the Bankruptcy Code on 1/3/2024.

   4. Irreconcilable differences have arisen between attorney and the debtor rendering further

         representation impossible.

WHEREFORE, attorney requests that the Court enter an order allowing them as attorney to

withdraw from this case, and grant attorney such relief as is just and proper.

                                                              Respectfully submitted,



                                                              /s/ Nathan E. Curtis
                                                              Nathan E. Curtis


 Attorneys for the Debtors
 Geraci Law L.L.C.
 55 E. Monroe Street #3400
 Chicago, Illinois 60603
 (Ph): 312.332.1800 (Fax): 877.247.1960
